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EXHIBIT "B"
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Jane Doe v. AcadeMir Charter Schools, Inc., et al.

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IN THE DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
CASE NO. L1523-@v-23004-WPD

JANE DOE, a minor, by and

through her mother and next

friend, MOTHER DOE,

Platwkittf,

WS.

ACADEMIR CHARTER SCHOOLS, INC.,

and SUPERIOR. CHARTER SCHOOL

SERVICES, INC.,

Defendants.

DEPOSITION OF HIRA CHAUDRY

WEDNESDAY, MAY 15, 2024
4200 D.di. - 53423 p.m.

601 BRICKELL KEY DRIVE, SUITE 700
MIAMI, FLORIDA

Reported By:

Katiana Louis
Notary Public, State of Florida
Miami Office #27402

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On behalf of the Plaintiff:

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Schools, Jc. :

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On behalf of the Defendant Superior Charter
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8 Sex-Based Discrimination and Sexual
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Thereupon:
HIRA CHAUDRY
was called as a witness, and having been first

duly sworn and responding "Yes," was examined and
testified as follows:

DIRECT EXAMINATION
BY MR. MACDONALD:

OQ. Good afternoon. My name is Kyle
MacDonald and I represent Jane Doe in her lawsuit
against AcadeMir Charter Schools, Inc. and
Superior Charter School Services, Inc. Thank you
for being here today.

A. You're welcome.

0; Can you please start by stating your

full name for the record, please?

A. My name is Hira Hills, formerly Hira
Chaudry.

QO. Have you ever had your deposition taken
before?

A. No, I haven't.

QO. Since this is your first deposition,

T'll go over a few things so we're both on the
Same page. Do you understand that you have been
placed under oath and you have an obligation to

testify truthfully here today?

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A. 16S.

OG. And do you understand that -- strike
that.

Now, in terms of your responses, the
court reporter cannot transcribe anything
inaudible like a gesture or shrug. So, be sure
to answer clearly just as you have been.

A. Okay.

0; And the court reporter also cannot
accurately reflect your responses if we speak at
the same time. So I will wait for you to finish
your answers and I ask that you wait until I
FinLSh my quest Lons.

A. Okay.

Q. Now, we want to ensure that we get your
best testimony, so if there is any question that
IT ask that you find confusing or you don't
understand, just let me know and I can try and
rephrase the guestion for you.

A. Okay.

Q. On that same note, if you do not say

anything, I'm going to assume you understood the

question as asked. Okay?
A. Okay.
GC. If you need to take a break at any

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1 point, go to the bathroom, get a drink of water
= or take a breather, please let me know and I'm
3 happy to do so.

4 A. Okay.

° Q. Is there anything that prevents you from
6 thinking clearly and testifying truthfully here
7 today?

8 A. No.

9 0; Now, for the purposes of today's

10 deposition, I'll refer to AcadeMir Charter

11 Schools, Inc. as just AcadeMir if that's okay
me with you?

13 A. Yes.

14 GO; And on the same note, I'll refer to my
15 client who is a minor, , as Jane Doe
16 if that's okay with you?

Li A. Okay.

18 QO. What did you do to prepare for today's
19 deposition?

20 A. I had a like a prep meeting. And that
21 was it.

ee QO. And was that prep meeting with an

23 attorney?

24 A. Yes.

25 Q. And is that counsel for AcadeMir,

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| Ms. Karron?
= A. With AcadeMir?
3 Oe Who is the attorney?
4 A. Julie. And there was, I think -- I
° can't remember the other lawyer's name that was
6 present.
7 QO. Did you speak to anyone else besides the
8 attorneys you just mentioned regarding your
9 deposition today?
10 A. No.
11 QO. Did you review any documents prior to
me your deposition here today?
13 A. No.
14 GO; What is your current address?
15 A. 11241 Southwest 152nd Place, Miami,
16 Florida 33196.
Li QO. And how long have you lived at that
18 address for?
19 A. I'm trying to do the math. Around 11 to
20 12 years.
21 QO. Have you ever been a party to a civil
ee lawsuit before?
23 A. No.
24 0. Have you ever been a witness in any
25 other lawsuit before?

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| A. No.
= QO. Did you attend college?
3 A. Yes.
4 0; Where did you attend college?
° A. FLU.
6 QO. And did you earn a degree at FIU?
7 A. T did,
8 Oe And what degree was that?
9 A. A bachelor's in early childhood.
10 Q. And do you have any other degrees
11 besides that one?
me A. I'm currently getting my master's from
13 fc.
14 O. Do you have any professional
15 certifications?
16 A. That go along with my teaching
Li certifications there are things that get added to
18 that. An ESO: Gertification, a reading
19 endorsement, and once I finish my master's I'll
20 have another reading K through 12 certification.
21 QO. Where do you currently work?
ee A. At public school, an elementary school.
23 Oe What is that called?
24 A. Sunset Park Elementary School.
25 Q. What do you do at Sunset Park?

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| A. I'm a teacher.
= QO. When did you begin working at Sunset
3 Park?
4 A This school year, in August.
° Q August of 2023 then?
6 A Yes.
7 QO. Where did you work prior to Sunset Park?
8 A AcadeMir Charter School.
9 OQ And were you a teacher at AcadeMir as
10 well?
11 A. Yes.
me QO. When did you first begin working for
13 AcadeMir?
14 A. In 2018.
15 Q. And what grade were you teaching when
16 you started in 2018?
Li A. Kindergarten.
18 QO. And did you remain a kindergarten
19 teacher for the rest of your time at the school?
20 A. Yes, I did.
21 QO. Who did you report to as a kindergarten
22 teacher at AcadeMir?
23 A. Administration. And I was also the
24 grade level lead for my grade level so it was
25 directly to administration.

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1 QO. Was it anyone in particular in
= administration or multiple people?
3 A. The first few years we were all in one
4 building, so it was all of administration and
° then when we were at the primary learning center
6 it was to one assistant principal.
7 QO. And when was that change to the primary
8 learning center, roughly?
9 A. I was there for two years. So 2021 to
10 2022, and 2022 to 2023.
11 QO. And why did you leave AcadeMir?
me A. Te go toe public schoe!l .
13 QO. Why did you wart to go to publie school?
14 A. They have better benefits and they pay
15 for your Master's and continuing education.
16 Q. When you worked at AcadeMir as a
Li teacher, did you undergo any type of training?
18 A. Yes, Lots of training.
19 0. Did you ever receive any training on
20 TLtLe Te
21 A. Yes.
ee QO. And what training was that?
23 A. Through our ADP, like HR, modules and
24 webinars.
25 Q. And how often did you have to do that

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1 ADP training?
= A. At the beginning of the school year, we
3 would have certain ones to complete. I don't
4 remember specifically.
° Q. But you had to do a training every year?
6 A. Yeah.
7 QO. Did the topics vary depending on the
8 year?
9 A. Yes.
10 Q. What topics were covered in those
11 trainings depending on the year?
me A. T mean, I don't, —— I henestly can't
13 remember. I can list a few off the top of my
1 head, like harassment, Florida statutes in the
15 workplace, how to -- communication. And I don't
16 know. Honestly, I can't remember right now.
Li Sexual harassment, workplace.
18 QO. And did any of those ADP trainings cover
19 Title IX specifically?
20 A. I don't remember.
21 QO. And besides those ADP trainings, did you
ee receive any other training on Title IX during
23 your time at AcadeMir?
24 A. No.
25 Q. Did you receive any training on sexual

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1 harassment while you were employed at AcadeMir?
= A. Yeah. Through those -- well, through
3 the ADP.
a 0; And were those sexual harassment topics
° covered each year or did it depend?
6 A. Each year.
7 QO. And did you earn any kind of certificate
8 when you completed these trainings?
9 A. Yes.
10 Q. And did you have to do anything with
11 those certificates?
me A. No, they were in the portal.
13 Oe What portal?
14 A. Like, ADP has a work portal.
15 Q. Did you have to send certificates to
16 anyone at AcadeMir?
Li A. Sometimes for some trainings.
18 QO. Do you know if during your employment
19 with AcadeMir they had any written Title IX
20 polle1ées?
21 A. I can't remember.
ee QO. Do you recall if during your employment
23 at AcadeMir, AcadeMir had any written policies on
24 sexual harassment?
25 A. Can you clarify? Would that be like

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1 coworker -- like, we had, like, a staff room that
= had posters posted, but I don't know
3 SspeciticalLlly.

4 0. Were there any written policies

° regarding sexual harassment besides posters? I
6 guess, anything in a handbook? Are you aware?

7 A. We were given a handbook, yes.

8 QO. An employee handbook?

9 A. Yes.

10 Q. During your employment at AcadeMir, did
11 you receive any training on how to handle student
me complaints of sexual harassment?

13 A. Specifically, I don't remember.

14 0. And during your employment at AcadeMir,
15 did you receive any training on how to handle

16 student complaints of discrimination?

Li A. I don't remember. I think things were
18 introduced like my first year, but I don't

19 remember.

20 Q. While you were employed at AcadeMir, do
21 you know if the school had a Title IX

ee coordinator?

23 A. I don't know. No.

24 0. While you were employed at AcadeMir, do
25 you know who was responsible for handling Title

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1 IX generally?
= A. Ne.
3 Oe While you were a teacher at AcadeMir,
4 did you ever receive any reports of sexual
° harassment?
6 A. Reports as -- can you clarify that
7 guestion? Can you repeat it?
8 Oe While you were a teacher at AcadeMir,
9 did any student make any allegations that you
10 considered to be sexual harassment?
11 A. Physically, no.
12 Q. Were there other kinds of sexual
13 harassment reported that was not physical?
14 A. No.
15 Q. Then what did you mean by "physically"?
16 A. Physically.
Li QO. And are you familiar with my client
18 Jane?
19 A. Yes.
20 Q. She was 4 sttideént at AcadeMir; is that
21 right?
ee A. Yes.
23 QO Did you teach Jane?
24 A. I did;
25 Q And when did you teach her while you

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| were at AcadeMir?
= A. hast school year, 2022 te 2023.
3 QO And were you Jane's full-time teacher?
4 A. Yes.
° Q How often did you interact with Jane?
6 A She was in my classroom every day from
7 6:80 tbe 2:30.
8 QO. During the time you were Jane's
9 teacher did she ever have any disciplinary
10 issues?
11 A. Yes, she did.
me QO. What disciplinary issues would she have?
13 A. Towards the beginning of the year, she
14 would have, I wouldn't say tantrums, but if she
15 didn't want to do something or she didn't want
16 something happening to her, she would cry in
Li class, stomp her feet.
18 And I had a meeting with her parents
19 about it because she would cry for 5 or 10
20 Minutes in class if she didn't want to open up
21 her math book or she didn't want to come into
ee class that day, things like that.
23 Oe When did you first notice those issues
24 that you just described?
25 A. Mostly at the beginning of the school

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1 year.

2 Q. Would that be --

3 A. August, September.

4 0: Of 20227

° A. BOP 2 s

6 QO. And you said you had a meeting with

7 Jane's parents about this?

8 A Yes.

9 0; Was this a parent-teacher conference?
10 A Yes.

11 QO. And did you have to fill out any forms
me to have that parent-teacher conference?

13 A. I aid.

14 GO; And what does that form look like?

15 A. It's a parent-teacher conference form
16 and you fill out what was spoken about, and the
Li parents sign and I sign as well, whoever was

18 present in the meeting.

19 O. And what did Jane's parents say when you
20 shared these issues with them in that meeting?
21 A. They knew how Jane was. She had those
ee same behavior problems previously in pre-K as

23 well. And they said that they would have the

24 same conversations with her at home about crying
25 constantly in class. They were at first not

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1 confused, but they didn't know what the picture
= of kindergarten was, that it's rigorous, they do
3 class work, and they have exams, they thought it
4 was more of centered play.
° So, I kind of walked them through what a
6 day looked like, and that they do have reading,
7 science, math, social studies and that was it.
8 And we came to the conclusion that for them to
9 motivate her at home to behave better in class,
10 they had a behavior system just to communicate
11 with her to motivate her to try to do better --
me behave better.
13 Oe And did these issues continue after that
14 conference?
15 A. It wasn't as severe. It did iron out.
16 I built a relationship with her. She kind of got
Li into the gist of school. Did it happen every so
18 often? Yes, not as much or as frequently as it
19 was happening towards the beginning of the year.
20 Q. And besides that parent-teacher
21 conference form, did you ever document any of
ee these issues?
23 A. Just through behavior calendars that I
24 would send home and through, like, conduct
25 grades, but that was it.

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1 Q. What are behavior calendars?
= A. I had like a system in my class,
3 depending on what -- how they behaved for the
4 day, they would get a color and I would put it on
° online like on a little app so the parents could
6 see how the kids behaved that day.
7 QO. And you mentioned conduct grades as
8 wells 18 Chat Signi?
9 A. Yes. Every quarter they would get a
10 behavior grade and you add comments.
11 QO. And was every teacher required to do
me those conduct grades?
13 A. Yes.
14 O. And how would you give the conduct
15 grades to students?
16 A. Depending on their conduct for the nine
Li weeks. So how they behaved on a day to day.
18 QO. Was this a paper form or something you
19 do electronically?
20 A. A report card.
21 Q. And this was mailed to the parents?
ee A. Sent home.
23 Oe And did AcadeMir keep a record of those
24 conduct grades too?
25 A. Lti"s through a grade book. So, I'm not

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| sure.
= QO. What grade book?
3 A. Like Miami-Dade Schools' grade book.
4 0. And is there a scoring system of these
° conduct grades?
6 A. In kindergarten, no. I mean, it's on,
7 again, the teacher's records, and my record was
8 through those behavior calendars.
9 0. And you said you did those every nine
10 months; is that what you said?
11 A. Every quarter, yes, every nine weeks.
me QO. And were those entered through the DSIS
13 system, I believe it's referred to?
14 A. That, I don™t know:
15 Q Where would you enter those forms?
16 A. In my grade book.
1! Q. Was that a website?
18 A Yes, through Dade schools.
19 O. How were Jane's conduct grades while you
20 taught her?
21 A. I don't remember specifically, but I do
ee know that I had to have the conversation with her
23 parents like consistent about her behavior.
24 0. Did you ever share those issues with any
25 other employees of AcadeMir?

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1 A. No, because it was managed. If it was
2 not controlled, then, yes, but it was manageable.
3 Oe Did you ever share those issues with
4 Susie Bello at any point?

° A. I'm sure -- I know we had conversations
6 about the students and their temperaments and

7 their behavior, but specifically, TI can't

8 remember.

9 GO. Was it common for you to discuss issues
10 like that with Susie Bello?

11 A. More common with Ms. Valladares because
me she was in my building.

13 Oe Did you ever discuss these issues with
14 Jane with Ms. Valladares?

15 A. Yes.

16 Q. And when did you discuss those issues
Li with Ms. Valladares?

18 A. I can't remember specifically.

19 0. And are you familiar with a student by
20 the name of ?

21 A. Yes.

ee QO. And I'll refer to him from this point
23 forward as L.R. if that's okay with you?

24 A. Yes.

25 Q. Did you teach L.R.?

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| A. I did.
2 Q. And was L.R. in that same class where
3 you taught Jane?
4 A. Yes.
° Q How long did you teach L.R. for?
6 A. The school year of 2022 to 2023.
7 Q During L.R.'s enrollment, did he ever
8 have any disciplinary issues?
9 A. No, he did not.
10 Q. And did he have any behavior issues or
11 conduct issues?
12 B. No, he did not.
13 QO. And did you give conduct grades for L.R.
14 as well?
15 A. Yes.
16 QO. And do you recall how his conduct grade
Li results were?
18 A. He received principal honor roll, se
19 that's straight E's for kindergarten, which is
20 A's.
21 QO. Well, do you recall any grades given on
ee the -- sorry -- any results that you gave as part
23 of those conduct grades for him specifically?
a4 A. Yes, A, it would be an E, which is
25 excellent.

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1 QO. And do you recall if you ever gave an E
= for excellent to Jane when you taught her?

3 A. I can't recall.

4 0. Did you communicate with L.R.'s parents
° on a regular basis?

6 A. Yes.

7 OG. What were L.R.'s parents names?

8 A. The dad, I can't remember. Mom is

3 ee

10 Q. And do you know what L.R.'s mother did
11 for work?

me A. Ne.

13 Oe Do you know what L.R.'s father did for
14 work?

15 A. No, Z£ do fot.

16 Q. And how often would you communicate with
Li Lak. "Ss parents?

18 A. Just as often as any of the other

19 parents.

20 Q. At any point did Jane report sexual

21 harassment by L.R. to you?

22 A. Sexual harassment, no.

23 QO. Did Jane at any point report any kind of
24 issue with L.R.?

25 A. Yes.

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1 Q. And what did she report?
= A. She told me that L.R. teld her that he
3 wanted to lick the tetas and touch her cuca.
a 0; You said that she reported that L.R. had
° stated that he wants to lick her tetas and touch
6 her cucay is that right?
7 A. Yes.
8 0. And do you know what the term "tetas"
9 was referring to?
10 A. Yes.
11 Q. Was that referring to her breast?
me A. Yes.
13 Oe And the term "cuca," is that referring
14 to her vagina?
15 A. I'm going to assume so. I did not ask.
16 Q. And when did she tell you about this
Li incident?
18 A. She had told the PE teacher, and when I
19 went to go pick her up from the PE, the PE
20 teacher had told me, so I pulled her aside to ask
21 her if there was anything she wanted to tell me
22 from what she told Ms. M, and that's when she
23 told me.
24 0. Did she share anything about the
25 circumstances in which this occurred?

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1 A. No, I asked her if she could tell me
= when it happened, or where. I wanted to know
3 like did it happen before lunch, did it happen at
4 breakfast or during PE. And she didn't remember.
° And then I said, "Okay. Do you know
6 where? Was it in the classroom or in the park?"
7 And she wasn't able to tell me.
8 I teld her, "Thank you for Letting Ms. M
9 know. It was a nice thing that you said

10 something."

11 QO. And you said the park, what is that?

me A. Where they play. Where they have recess
13 and they have PE.

14 O. It's an outdoor area, I'm guessing?

15 A. Yes.

16 QO. And what was your reaction when you

Li learned what Jane had alleged?

18 A. That it was outrageous, hearing it

19 coming from her, hearing her say it. It's not

20 out of the ordinary for kids sometimes to say

21 things that are inappropriate. So I brought her
22 inside and I asked Ms. Castellon, someone in the
23 office, to ask her in Spanish because that is her
24 first language and she had a little bit of an

25 accent so I wanted to be sure what I was hearing

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1 I heard correctly, especially since she said the
= terms in Spanish.

3 And so I asked Ms. Castellon, who also
4 had a relationship with her in pre-K, to ask her
° again in Spanish and to make sure that he said it
6 and that he didn't touch her because I asked her
7 "Did he touch you? Did he touch you anywhere?"
8 And she told me, "No. No."

9 And I said, "Okay. Are you okay?"

10 She said, "Yes."

11 So, when I brought her inside I wanted
me to make sure that I was getting the truth. So I
13 asked Zoley, Ms. Castellon to ask her again in
14 Spanish before I contacted the parents to let

15 them know, both parents.

16 QO. And did Ms. Zoley speak with Jane?

Li A. She did.

18 Oe And what did she tell you about that

19 conversation?

20 A. She told me that she asked her what

21 happened and she repeated the same thing. And
ee Ms. Castellon asked her in Spanish if she had

23 been, like, touched or bothered, and Jane had

24 told her, "No, Nes WNos«*®

25 And I also asked Ms. Castellon if she

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1 could ask her if she remembered when or where,
= and she wasn't able to give an answer.
3 QO. And did Ms. Zoley translate the parts of
4 the body that she was referencing with those
° terms “cuca” and "tetas"?
6 A. Yes. To me, well, "tetas," I knew, I
7 think it was a Cuban reference. I don't know if
8 that's what she told me.
9 GO. What did she say the term "cuca" in this
10 context meant?
11 A. It wasn't a saying. It was more of a
me gesture.
13 Oe What did she gesture?
14 A. Just pointing like down like it's a
15 private.
16 Q. Like the groin area?
Li A. Yes.
18 QO. Why did you think it was outrageous what
19 she had reported?
20 A. Because they're talking about their
21 privates.
ee QO. Was that out of the ordinary for a
23 student of that age?
24 A. Not out of the ordinary, but, of course,
25 hearing a student say the words was -- I wouldn't

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1 say shocking, but it's not something that happens
= every day.

3 QO. Had you ever had something like that

4 happen in the past?

° A. Similar, Yes, Hot specifically, but

6 through the years, yes.

7 OG. What have you had happen that was

8 similar?

9 As I've had students that talk about --

10 like showing in the bathroom, like a boy, that's
11 the only specific example I can recall, but they
me are five years old, and it happens a lot where
13 you have to correct them and let them know it's
14 not. for school.

15 Q. What happened after you spoke with

16 Ms. Zoley?

Li A. It was during dismissal time, so it was
18 time for the students to go home. I hada

19 meeting with L.R.'s mom. And then I asked her if
20 she could call Jane's parents to relate what had
21 happened because they spoke Spanish and I wasn't
22 able to communicate it to them.

23 QO. And this meeting took place at dismissal
24 time that day?

25 A. Yes.

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24

25

Where did it take place physically?

With who? With -- which meeting?

Your meeting with L.R.'s mother.

In my classroom.

that was at dismissal time that you

what was L.R.'s mother's response

when you shared this information with her?

was embarrassed and shocked and she

you asked L.R.'s mother to contact

T did net:

Q.

A.

hia

A.

QO. And
mentioned --

A. Yess

0. And

A. She
apologized.

O. And
Jane's parents?

Ais No,

QO. Who

parents?
A.
happened.
0.
parents 2
A.
Q
A.
0.

Ms.

And

did you ask to contact Jane's

Castellon to let them know what had

did Ms. Zoley contact Jane's

Yes.

And

was that via phone?

Yes.

Did

meeting with

that take place prior to your

L.R.'S MOtCher al. dismissal?

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| A. I don't remember the timeline.
= QO. Do you know if it was prior to dismissal
3 that Ms. Zoley called?
4 A. No.
° Q. Did Ms. Zoley share with you how that
6 phone call went?
7 A. Verbatim, yes, but it was in Spanish.
8 0. What do you recall that she had told
9 you?
10 A. That she had told the mom what L.R. had
11 said to Jane and the mom, she said, she
12 understood and she said, "You know, kids will be
13 kids." And that was it, that was the end of the
14 conversation.
15 Q. And you around dismissal time spoke with
16 L.R.'"s mother; is that right?
1! A. Yes.
18 QO. Did you request a meeting with L.R.'s
19 mother?
20 A. I did. She picks him up in the car
21 line, so I asked her if she could come inside and
ee speak with me before -- it was a Friday and I
23 wanted to talk to her before the weekend.
24 GO; And you said that L.R.'s mother was
25 embarrassed about what you told her?

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| A. Yes.
= QO. At any point during your meeting, did
3 L.R.'s mother say that something may have
4 happened at home?
° A. No, she didn't give me details.
6 QO. At any point during your meeting with
7 L.R.'s mother, did she say that L.R. had seen
8 something that caused him to make those comments?
9 A. No.
10 Q. At any point up to this meeting with
11 L.R.'s mother, were you concerned that something
me could be going on with L.R. at home?
13 A. No, I spoke to him after I spoke to
1 Jane, and I asked him why he said that, and he
15 said he heard it at home.
16 Q. Did he say how he heard it at home?
Li A. Ne.
18 Oe Were you concerned about that
19 specifically?
20 A. Yes. And I told him when he hears
21 things or sees things at home, that we don't
ee bring it te school, and that we don’t talk about
23 things like that. And he apologized. And that
24 was it.
25 Q. Did you ask L.R.'s mother what he may

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| have seen?
2 A. Wo, I did net.
3 Oe Why not?
4 A. Because at that point, that's what's
° happening in their house.
6 QO. Were you concerned that L.R. could have
7 been exposed to sexual material at home?
8 A. No, because it wasn't something that had
9 happened before.
10 Q. Meaning that L.R. had not had an issue
11 like that in the past?
me A. Right, he had never said anything or had
13 done anything to make me --
14 O. And what happened after that meeting
15 with L.R.'s mother?
16 A. She went home with him.
Li QO. Did the school do anything at your
18 meeting with L.R.'s mother that you are aware of?
19 MS. KARRON: Objection to form.
20 MR. MACDONALD: Go ahead.
21 THE WITNESS: I spoke to Ms. V
ee about what happened at the end of the
23 day.
24 BY MR. MACDONALD:
25 Q. And what did you share with

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| Ms. Valladares?
= A. What had happened in the classroom.
3 0. And what was her response?
4 A. I don't remember specifically. It was
° Just a recap so I could let her know that I spoke
6 to both parents.
7 QO. Do you recall if she was surprised or
8 shocked?
9 A. No.
10 Q. Did Ms. Valladares tell you if she was
11 going to speak to anyone about that incident?
me A. I can't remember.
13 QO. At any point did you speak with Susie
14 Bello about this incident?
15 A. I did.
16 QO. When did you speak with Ms. Bello?
Li A. The following week.
18 QO. Do you recall what day you spoke with
19 Ms. Bello?
20 A. I know on Tuesday.
21 Q. And did you ask to meet with Ms. Bello
ee on Tuesday?
23 A. Well, I had the parent conference with
24 Jane's parents on Tuesday. So, I met with
25 Ms. Bello after.

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1 QO. And why did you have a parent conference
= on that Tuesday with Jane's parents?

3 A. They reached out because they said that
4 Jane said that there was more that happened.

5 Q. Who reached out? Was it Jane's mother

6 or father?

7 A. Jane's mother.

8 Oe How did Jane's mother contact you?

9 A. Through our school, the app that we use
10 for conmunication.

11 QO. And what specifically did she tell you?
me A. She said -- I don't remember the message
13 specifically, but it was the next day and she

14 said that "Jane said that there was scary details
15 from under the table with that boy and I would

16 like a meeting to discuss it."

Li QO. And when you met with Jane's parents in
18 that conference, what did they share with you?

19 A. They said that he touched her under the
20 table and licked her. I can't remember if it was
21 licked her up here or licked her down here, but I
ee know that they were saying that she was touched
23 under the table.

24 0. And what did you say in response?

25 A. I asked if they remember if Jane told

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1 them. They mentioned a table, so I wanted to
= know what table. We have a table in the
3 classroom, we have a table in breakfast, in
4 lunch, and I was trying to assure them that in my
° classroom, that that incident did not take place
6 on Friday. I was vigilant. I was watching them.
7 We had testing. They had their test dividers up.
8 They were separated. I was circulating the room.
9 They did not have free time that day for

10 something like that to occur.

11 I showed him where she sat in proximity
me to my desk so he could visualize it. And I was
13 asking if there were more details, so that maybe
14 I could put pieces together if that was even a

15 possibility to happen. I was assuring them that
16 that did not happen under my supervision.

Li QO. And you mentioned that you were

18 supervising the students that Friday?

19 A. Uh-huh.

20 Q. And that is that Friday, January 20th;
21 Ls that right?

ee A. Yes.

23 QO. On January 20th, that day, did the

24 students have time in the park?

25 A. For their PE. At the end of the day

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| with the PE teacher.
= QO. And are the students fully supervised
3 the entire time?
4 A. Yes.
5 Q. And are the students canftined to a
6 specific area during that PE period?
7 A. Yes.
8 Oe How did that meeting conclude with
9 Jane's parents?
10 A. The dad was visibly upset and they
11 assured me that they understood, they know that
me my relationship with Jane was strong, so they
13 were assuring me that they weren't saying
14 anything about my teaching, like maybe I wasn't
15 looking. And I tried to assure them, that I know
16 that that couldn't have happened in my classroom.
Li Someone would have said something. She sits
18 elbow-to-elbow with another student who would
19 have seen if something happened in the classroom.
20 She was wearing jeans that day and she would have
21 had to stand up. There would have been witnesses
ee if it happened in my classroom, and the dad
23 wanted to see camera footage.
24 0. You mentioned Jane wearing jeans?
25 A. Yes.

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1 QO. Are you referring to her wearing jeans
= on that Friday, January 20th?
3 A. Yes.
4 0. Why is that important that she was
° wearing jeans?
6 A. I believe if something were to have
7 happened, jeans would have had to come off or
8 pulled down and she was sitting the whole time in
9 my class.
10 Q. Did Jane's parents allege that Jane had
11 her pants taken down and was touched?
me A. I can't remember. I know that they said
13 she was touched under the table. I can't
14 remember if that was mentioned.
15 Q. When you spoke with Jane's parents, did
16 you consider whether she may have been referring
Li to something that may have occurred on a previous
18 day?
19 MS. KARRON: Objection to form.
20 Calls for speculation.
21 MR. MACDONALD: Go ahead.
ee THE WITNESS: No.
23 BY MR. MACDONALD:
24 O. Why not?
25 A. Because I would assume that it would be

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1 told on that day, especially when they're little.
= They don't have -- the memory, it doesn't last,

3 at least the details of situations that happened
4 don't last for long-term.

° Q. What happened following that meeting

6 with Jane's parents?

7 A. In regards to what specifically?

8 QO. Do you know if Jane met with anyone

9 following that meeting with her parents?

10 A. I know that the counselor pulled her out
11 of my class to speak with her. The counselor
me also pulled out L.R. as well.

13 QO. When did that happen that Jane was

14 pulled out of the class?

15 A. I think on Tuesday.

16 Q. And who was the guidance counselor at
1! that time?

18 A. Ms. RULZ.

1 GO. Is that Stephanie Ruiz?

20 A. I'm trying to think of her first name.
21 Yes.

ee QO. And did Ms. Ruiz speak with you after
23 that first meeting with Jane?

24 A. Yes.

25 Q. And what did she tell you?

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| A. She told me that Jane told her that it
2 was -- I was concerned because I also wanted to
3 know the truth of if what her parents were saying
4 was true or if it was what she had told me on
° Friday. And Jane had told her the same thing
6 that she had told me, that Jane had said it.
7 QO. Did Ms. Ruiz tell you about the meeting
8 With L.R.?
9 A. Yes.
10 Q. And what did she say about that?
11 A. That he had heard it from home, what was
12 said.
13 Oe Did she tell you how he heard it?
14 A. No.
15 Q. Did she tell you anything else about
16 that meeting with L.R.?
1! A. No.
18 Oe Do you know if Ms. Ruiz documented those
19 conversations with Jane and L.R.?
20 A. I don't know.
21 QO. At any point did Jane's parents ask you
ee to listen to a recording?
23 A. No.
24 0. Do you know if Jane's parents tried to
25 show anyone else that recording at AcadeMir?

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1 A. After that meeting that day, on Tuesday
= with the parents, I was not involved.

3 QO. But you spoke with Ms. Valladares after
4 that meeting; correct?

° A. Yes.

6 Q. And what was that, that meeting with

7 Ms. Valladares?

8 A. I can't remember. At some point during
9 the school day.

10 Q. Did that take place in her office?

11 A. That I can't remember either.

me QO. And what did Ms. Valladares say to you
13 in that meeting?

14 A. She told me that the father was upset
15 and that's it from what I can remember.

16 Q. And Ms. Valladares didn't make any

Li mention of a recording from Jane?

18 A. No.

1 GO. Do you know if AcadeMir conducted an

20 investigation in response to what Jane had

21 alleged?

ee A. Ne.

23 QO You don't know?

24 A. No.

25 Q At any point did you consider reporting

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24

25

what Jane had alleged to the Florida Department

of Children and Families?

A. No.
0; Why not?
A. Because what Jane had told me was that

he said something inappropriate to her.

QO. And you didn't think those allegations
Were sUriiclent. to report to DCE?

MS. KARRON: Objection to form.
THE, WETNESS % At that moment, no,
because it wasn't a pattern. It was

like a one-time -- it happened one time.

If it would have happened again, if it

had happened in the past -- and also

Jane didn't seem distraught, emotionally

upset. She was fine.
BY MR. MACDONALD:

QO. At any point during your employment at
AcadeMir, did you receive any training related to
reporting to the Department of Children and
Families?

A. In one of those webinars, yes.

QO. And after that training what was your
understanding of those requirements?

A. If there are visible signs or suspected

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Signs of abuse or neglect, they were to be
reported.
Oe Did Jane continue to be enrolled in your

class after Chak incident?

A. For a few days.

Q. When did Jane withdraw from enrollment?

A. I don't remember specifically. I know
she was absent. I think she came to school that

Tuesday, Wednesday. And that was the last day

she was in my class, on Wednesday.

Q. Do you know why Jane withdrew?
A. No.
Oe Did you ever discuss Jane's withdrawal

with any employees at AcadeMir?

A. Yes, Ms. Valladares had told me to pack
up her supplies just in case Dad wanted to
come -- her parents wanted to come and pick it
up.

0; Were any referral forms issued for L.R.
as a result of what Jane had reported?

A. I did not write one, but I don't know if
there was.

QO. Did you write any kind of referral form
for Jane?

A. No.

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25

MR. MACDONALD: Let's go ahead and
go off the record.

(A. bDRLeL break was had.)

MR. MACDONALD: Now, I'm going to
show you a document. We're going to
mark this as Plaintiff's Exhibit 1. And
the document is titled "Miami-Dade
County Public Schools Student Referral."

(Plainki ft*s Exhibit Now 1 wes
fiarked for 10d6ntification.. )

THE WITNESS: Okay.

BY MR. MACDONALD:

OQ. Do you recognize that document?
A. I'm aware of it, yes.
Q. How are you aware of it?

A. Ms. Bello had told me that she had

referred him.

Oe And “him” being LR?

A. 1SSis

GC. When did Ms. Bello tell you about the
rmcerrals

A. I can't remember. I think that Tuesday.

OQ. And did Ms. Bello say why she was

issuing that referral form?

A. Yes, she wanted documentation of L.R.'s

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1 comment.
2 O. Now, on this document, on the bottom

24

25

left-hand corner, there's a comment section?

A. Uh-huh.

GC. And do you see where it says, "Mom was
notified via phone and in writing"?

A. Yess

0. Do you know if L.R.'s mother was
contacted via writing?

A. L think this would be the -- it eotild
be. I don't know. I did send her a message, but

T talked te her in person.

OQ. How did you send her a message?

A. On the Our Class app that we use.

Q. And what did you say in that message?

A. Just that I needed to speak to her about

an incident that happened during class.

Oe And in that same section, do you see
where it says "referred to student services," it
looks like?

A. 16S.

OG. Do you know what student services L.R.
was referred Lo?

As The counselor.

GC. And on the document do you see where it

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24

25

says “referral action code"?

A. Yess

QO. Do you know what that is referring to?

A. There are certain codes for certain
behaviors. I just don't know right now off the

top of my head.

OG. And do you see on the right-hand corner
of those lower boxes where it says "computer
recorded"?

A. Yes .

QO. Do these forms have to be entered

electronically at AcadeMir anywhere?

A. I don't know. That's for
administration.

GC. You've never had to enter any referral
forms?

A. No.

QO. Did Ms. Bello say anything else to you

when she spoke to you about this referral form?

A. No.

Q. When you were a teacher at AcadeMir, did
the school utilize the Miami-Dade County Public
schools" Code of Student. Conduct?

A. I don't know if it's the same one. I

know they had a code of conduct. I don't know if

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24

25

it's Miami-Dade County's.

OG. I'm going to show you a document. We'll
mark this as Plaintiff's Exhibit 2. And this is
called "Elementary Code of Student Conduct."

(Plaintifi"s Exhibit Ne. 2 was
fiarked for identification. )

BY MR. MACDONALD:

OQ. Do you recognize that document?

A. Yes; 1. do.

Q. And what is it?

A. lt*s our code of student conduct for
MDCPS «

Oe And did AcadeaMir utLlize that code whale

you were an employee there?

A. They utilized a code of conduct. I
don't know if it was the same one. I would have
to see it again.

Oe Do you know if there is a different
student conduct code that AcadeMir had in place?

A. That, I do not know.

Q. Did you ever have to review the code of
student conduct when you were an employee at
AcadeMir?

A. Yes, and we would have the parents sign

ie

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QO. Do you know if AcadeMir had a separate
student handbook that was distinct from the
Miami-Dade County code of conduct?

A. No. I know they had a contract, but I
don't remember.

QO. And what do you recall about the code of
student conduct that you reviewed when you worked
at AcadeMir?

A. It was a list of rules and guidelines

that the parents and the students had to abide

by.

OG. I want to draw your attention to page 43
of that document. I want to draw your attention
to the section titled "Sexual Harassment." I'1l1

give you a moment to review.

A. Yeah.

QO. When you were employed at AcadeMir, did
they utilize this sexual harassment section here?

As I don't know. I can't remember.

Q. Now, earlier you testified about ADP
training related to sexual harassment training
youl received; is that right?

A. Yes .

0. Did you receive any sexual harassment

training that was unique to AcadeMir?

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1 A. I can't remember.
= QO. When you worked at AcadeMir, what was

24

25

your understanding of the procedures for handling
student sexual harassment complaints?

A. A sexual harassment complaint, I would
report it to my administration.

QO. Anyone in particular in the
administration that you would have to report that
Co?

A. Not specifically because administration
changes, but administration.

OG. And would you have to do anything
outside of making that report to the
administration?

A. Depending on the nature -- if I witness
something, if there's witnesses, if something is
physical or verbal, yes.

QO. What do you mean if something was
physical or verbal?

A. Like, if I saw something with my own
eyes, there is a route that I -- I can
self-report or I would write a referral myself or
do a behavior tracking form or whatever the case
is. It depends on case by case.

Q. And does that procedure differ if you do

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not personally witness the sexual harassment?
A. Can you clarify that question?
Oe Well, I believe you mentioned that in
certain circumstances you may have to report

things yourself as a teacher at AcadeMir; is that

right?
A. Yess
QO. And you mentioned if you witnessed

something; is that right?

A. Yes .

Q. What was your understanding of the
reporting requirements if you learned of
something but you did not witness it personally
involving sexual harassment?

A. Learned of something, like if a student
were to come and tell me?

QO. What were the reporting requirements in
the event of a student reporting sexual
harassment that you did not witness personally?

A. Specifically, I don't know. I don't
know. Again, I would have the conversation with
administration.

QO. When you worked at AcadeMir, did you
know what the Miami-Dade County Public Schools

Office of Civil Rights Compliance was?

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| A. Yes.
= QO. And what did you know about it at that
3 time?
4 A. It's like a hotline to call.
° Q. When you worked at AcadeMir, were you

24

25

ever instructed in what particular circumstances
you were supposed to contact that hotline?

A. Specifically, no, I can't remember.

Os Now, I want to draw your attention to
page 83, specifically to the section labeled
"Sexual Harassment Level III Behavior." And I'll
give you a moment to review.

A. Okay.

0. While you were employed at AcadeMir, did
AcadeMir utilize this definition of "sexual
harassment”?

A. I dent. knew.

QO. Did you ever receive training at
AcadeMir as to what specifically constituted
sexual harassment?

A. Possibly in those trainings, but
specifically I can't remember.

QO. Now, previously I believe you testified
that you did not believe the verbal allegations

made by Jane were necessarily out of the

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1 ordinary; is that right? And correct me if I'm
= wrong, please.

3 A. Yeah, in the sense of kids say

4 inappropriate things, especially at five years

° 61d.

6 Q. And in the sexual harassment. definition
7 I just showed you, there's references to verbal
8 conduct or comments. Do you see that?

9 A. In the second paragraph?

10 Q. Yes.

11 A. Yes.

me QO. When you worked at AcadeMir, how did you
13 determine whether a student report of verbal

14 conduct rose to the level of sexual harassment?
15 A. TE Lt @id 6f 1f Lt did net?

16 MS. KARRON: Object to form.

17 BY MR. MACDONALD:

18 Oe How did you make that determination one
19 way or the other?

20 A. There was no intent or maliciousness

21 behind what he said, the student. And Jane,

ee again, did not seem distraught or upset.

23 QO. And what do you mean by intent or

24 maliciousness?

25 A. I think he said it without knowing what

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he was saying.

QO. What led you to believe that?

A. He's five years old and he said he did
not know why he said it, that he heard it at
home. I also didn't think it was targeted. I

think they just sat next to each other.

OG. What do you mean by that?
A. I don't think that he was -- the word,
it says here, “intimidating, hostile.” I dent

think he was being intimidating or hostile.

Q. You did not believe that the comment
that Jane alleged could be perceived by her as
intimidating or hostile?

A. Not that I don't believe it. She wasn't
upset about the comment. She was telling -- she
told me that he was bothering her and he said
that to her. And I asked her if she was okay and
she said yes. So, I don't think that it was
coming from a place of maliciousness or from
harassment.

QO. And were there any guidelines or

procedures that you used to make that

determination?
A. No. Written or -- no.
Q. There were no written guidelines or

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1 procedures?
2 A. That I referred to in that moment, no.
3 Not that there is not any, but at that moment
4 when I made that judgment call, no.
° Q. Are you aware of any guidelines or
6 procedures that did exist while you were working
7 at AcadeMir?
8 A. Specifically in regards to?
9 0; In evaluating whether a student's
10 allegations would rise to the level of sexual
11 harassment.
me MS. KARRON: Objection to form.
13 THE WITNESS: Word by word
14 specifically, no
15 BY MR. MACDONALD:
16 QO. What do you mean word by word?
17 A. Like to sit here and to recite it, no.
18 QO. But are you aware of any documents
19 generally that contain guidelines or policies in
20 that manner?
21 A. Yes.
22 Q. And what documents are those?
23 A. We have in our -- well, not anymore --
24 well, there's a -- there's documents that I know
25 were available through HR.

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1 Q. Documents were available through HR?
= A. Uh-huh, like that has the same thing as

24

25

the cede of Student conduct.

0; It was a code of student conduct?

A. Yes, the one that we have -- not we,
that AcadeMir had.

OG. Okay. And you're saying HR would have

that document available --

A. Well, yeah.
GC. -- when you worked at AcadeMir?
A. We had those documents available. Yes.

MR. MACDONALD: I'm going to show
you another document. Just give me a
moment. We'll mark this as Plaintiff's
Exhibit 3. And for the record, the
document is titled "Title IX Policies
And Procedures, Sex-Based Discrimination
and Sexual Harassment Manual." I'll
give you a moment to review.

(Plaintifti"s Exhibit Ne. 3 was
fiarked for identification. )

THE WITNESS: Okay.

BY MR. MACDONALD:

0; Do you recognize that document?

A. L do.

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1 Q. And what is it?
= A. Tt"s the process for reperting sexual
3 harassment.
a 0; You hawe seen this document before?
° A. I have, in our opening of schools we
6 were provided it.
7 QO. What is the opening of schools?
8 A. It's the beginning of the year when we
9 go through all of our trainings.
10 Q. When did that meeting take place
11 typical Ly?
me A. They are always at the beginning of the
13 year before school starts.
14 GO; In August?
15 A. Yes.
16 Q. Where were those meetings held
Li typically?
18 A. Different locations, different campuses.
19 O. Where was the last opening of schools
20 that you attended for AcadeMir held?
21 A. At -- I can't even remember the campus.
22 It was AcadeMir Prep, I think in Homestead, near
23 Eureka.
24 0. And at that opening of schools meetings
25 you were given this document?

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A. I can't remember if it was given to us

that particular school year.

0. What do you mean?
A. Like, we're given binders that have a
Lot. of information in them. I can't remember

specifically if this was given last school year.

OG. So, do you know for a fact if you
received that specific document before?

A. 1SSis

GC. And how do you know that if you don't
recall whether it was contained within those
binders?

A. Because I've seen it before as part of
the forms that we have received.

Q. And when exactly did you see it?

A. I worked for them for five years. I
can't remember.

QO. Did you have a copy of this document
when you worked at AcadeMir let's say in your
classroom?

A. I can't remember if it was physical or
if I had it online.

QO. Where would a policy like that be stored
online when you worked at AcadeMir?

A. Like, through -- we had a Google Drive,

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| a shared drive with all of the documents.
= QO. And you mentioned a binder that you had?
3 A. Yes, a resource binder.
4 0; And was that a binder that you put
° together or the school?
6 A. No, the school put it together.
1 Q. And what was contained in the resource
8 binder?
9 A. Documents like this and forms and other
10 information.
11 QO. And who provided you with that resource
me binder specifically?
13 A. Specititally, administratien. I doen't
14 know specifically whom, but it was provided by
15 the school.
16 QO. Did you get a new resource binder each
Li year?
18 A. Yes.
1 GO. And what did that binder look ‘Like?
20 A. It was just a one-inch binder that said
21 resources, "Faculty Resources."
ee QO. I want to draw your attention to the
23 fourth page, the third after the cover page. Do
24 you see in the first half of that page the
25 reference to a Title IX complaint form?

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A. Uh-huh.

QO. Did AcadeMir have a Title IX complaint
form when you were employed there?

As I don't remember.

Q. When you were employed at AcadeMir, did
you ever receive training or instructions on what
a Title IX complaint form is used for?

A. Specifically, not that I remember.

0. At any point during your employment with
AcadeMir, did you receive any kind of training or

instructions on a notice of rights document under

Titie Tx?
A. Not that I can remember.
GO. Do you know who Olivia Bernal is?
A. Yes .
Q. And did you ever interact with her when

you worked at AcadeMir?

A. Yes .
GO. When would you interact with her?
A. She was my school principal for my first

two years.

Q. And did Ms. Bernal continue to work at
AcadeMir after those two years?

A. 1SSis

Q. And what job did she perform?

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1 A. I don't know her title, her role.
= QO. Do you know if Ms. Bernal was
3 responsible for handling any Title IX matters
4 when you were employed at AcadeMir?
° A. I don't know.
6 QO. After you learned of the allegations
7 that Jane had originally made, did her parents
8 ever request to have L.R. and her put in separate
9 classes?
10 A. The conversation -- I didn't have a
11 conversation with them about that.
me QO. They never mentioned that to you?
13 A. No.
14 0. Do you know if anyone from AcadeMir ever
15 offered Jane or Jane's parents counseling
16 services?
17 A. That, I de not know.
18 QO. That was never mentioned in any meeting
19 that you were part of?
20 A. No.
21 Q. After Jane withdrew from AcadeMir, did
ee anyone speak to you about the incident she
23 reported?
24 A. No.
25 Q. And at any point did any employees of

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1 AcadeMir ask you to give a statement of any kind?
= A. Like formally? I mean, I had
3 conversations with my administration, but that
4 was it.

° Q. Who did you speak with in the

6 administration?

7 A. Ms. Valladares and Ms. Bello.

8 Oe And were those conversations after that
9 Tuesday when you spoke with Ms. Valladares?

10 A. I mean, I can't remember. We work

11 together all school year.

me QO. And did anyone ever discuss this lawsuit
13 WLEA you, prior to today?

14 A. No. Ms. Bello did mention I might get a
15 call from HR that the dad was pursing a case, but
16 that was all I knew. That was in February or

Li March and the subpoena was the first time I heard
18 about it since then.

2 GO; And that would be February, March of

20 this year?

21 A. I can't remember. I think it was in

ee March.

23 Oe And Ms. Bello called you?

24 A. No, I got a subpoena at my house.

25 Q. How did Ms. Bello contact you?

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1 A. No, that was last year, in March when I
= was still in the school.

3 Oe Was that a conversation that took place
4 in person in March of last year?

° A. Yes.

6 QO. And what exactly did Ms. Bello say?

7 A. She just said don't be alarmed.

8 Expect -- you may get a call from HR, so don't be
9 surprised.

10 Q. You may get a call from HR about what

11 specifically?

me A. She didn't say. She just said Jane's

13 dad was pursuing a case and I may get a call from
14 HRs

15 Q. And do you know who in HR she was

16 referring to?

Li A. Ne.

18 Oe Do you know who handled HR for AcadeMir?
19 A. Specifically, nea:

20 Q. And did anyone end up contacting you

21 from HR?

ee A. Ne.

23 MR. MACDONALD: We can go ahead and

24 go off the record, but I should be done

25 very soon.

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1 (A brie= break was had.)
é BY MR. MACDONALD:
3 QO. Now, earlier you testified you learned
4 about this incident with Jane from the PE
° teacher; is that right?
6 A. Yes.
7 QO. What exactly did the PE teacher say to
8 Vou?
9 A. She said that L.R. said -- had made
10 inappropriate comments to her.
11 QO. Did she specify what the comments were?
me A. Ne.
13 QO. And did she tell you why she was telling
14 you that?
15 A. No. It's Just norwhal for her to report
16 anything that went on in her class.
Li QO. And during the time that you have taught
18 L.R. and Jane, did they ever have any problems
19 getting along?
20 A. Not out of the ordinary of five year
21 old -- five-year-olds.
ee QO. What do you mean?
23 A. bike, “HE took my pene.” Ge they sat
24 next to each other and there would be times Jane
25 didn't want to do the work. And so if someone

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1 opened the book for her, she would get upset, but
= nothing out of the day-to-day.

3 0. If someone opened Jane's book, what do

4 you mean?

° A. Again, she had some behavior issues

6 where she wouldn't want to do the work or be on

7 task. Se, I would give points, table points, and
8 I would give them if they were ready on the right
9 page or had their journals out, so not only him
10 but there were other students at the table that
11 would help, take things out, put the supplies

me out, put the crayons out, and she wouldn't like
13 it when someone touched her crayons or pencils or
14 something like that. She was easily irritated, I
15 guess you could say.

16 Q. And what did’ that have to do with L.R.

Li specifically?

18 A. I don't think there was anything between
19 the two of them that was -- I don't know -- that
20 Steod cut.

21 QO. Do you recall any specific times where
ee they didn't get along even if it was something

23 Dear Lael F

24 A. No.

25 Q. Did Jane ever have trouble getting along

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| with other students?
= A. Yes.
3 Oe Which students?
4 A. Specifically, I don't know, but she
° would play alone in the playground. She mostly
6 played with her cousin who was in the class with
7 her.
8 QO. Did L.R. ever have any issues getting
9 along with other students?

10 A. No.

11 Q. And did L.R. ever get into trivial

me disagreements with students in the manner that
13 you just described?

14 A. No.

15 MR. MACDONALD: And those are all

16 the questions I have for you today.

Li Counsel for AcadeMir or Superior may

18 have some question. Thank you for your

19 time.

20 MS. KARRON: No questions. Thank

21 you for your time and we will waive

ee reading.

23 (Reading and signing were waived.)

24 (Thereupon, the taking of the

25 deposition was concluded at 5:43 p.m.)

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1 CERTIFICATE OF OATH
2
3 STATE OF PFPIORIDA

COUNTY OF MIAMI-DADE

° I, the undersigned Notary Public, in and
6 for the State of Florida, hereby certify that
7 HIRA CHAUDRY personally appeared before me on
8 May 15, 2024, and was duly sworn by me.
9
10
11
me WITNESS my hand and official seal this
13 15th day of May, 2024.
14
15
16
v Katiana Louie
18
KATIANA LOUIS
19 Notary Public-State of Florida
COMMISSION #HH 443618
20 EXPIRES September 13, 2027
21
a3
23
24
25

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1 REPORTER'S DRPOS.LYION CERT ER ICATE
é STATE OF FLORIDA
3 COUNTY OF MIAMI-DADE
4
° I, KATIANA LOUIS, do hereby certify that
6 I was authorized to and did stenographically
7 report the foregoing deposition; and that the
8 Eranscript 16 a true afd Sorrect transeriptioen of
9 the testimony given by the witness.
10
11 I further certify that I am not a
me relative, employee, attorney or counsel of any of
13 the parties, nor am I a relative or employee of
14 any of the parties' attorney or counsel connected
15 with the action, nor am I financially interested
16 in the action.
iy
18
19 Dated this 15th day of May, 2024.
20
21
ee Kutiana Louse
23 KATIANA LOUIS
24
25

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